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19                           UNITED STATES DISTRICT COURT
 20                        NORTHERN DISTRICT OF CALIFORNIA
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 21
21    CHASOM BROWN, WILLIAM BYATT,                      CASE NO.: 4:20-cv-03664-YGR
      JEREMY DAVIS, CHRISTOPHER
 22
22    CASTILLO, and MONIQUE TRUJILLO                    EXHIBITS 51 – 70 TO DECLARATION
      individually and on behalf of all other similarly OF MARK MAO IN SUPPORT OF
 23
23    situated,                                         PLAINTIFFS’ OPPOSITION TO
 24                                                     SUMMARY JUDGMENT
24                          Plaintiffs,
          v.                                            Judge: Hon. Yvonne Gonzalez Rogers
 25
25                                                      Date: May 12, 2023
 26   GOOGLE LLC,                                       Time: 1:00 p.m.
26
                            Defendant.                  Location: Courtroom 1 – 4th Floor
 27
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                                              Mark Mao’s Decl. ISO MSJ Opp. 4:20-cv-03664-YGR
